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 5
     Attorney for Defendant,
 6   PETER WOODARD

 7
                                THE UNITED STATES DISTRICT COURT
 8                           FOR THE EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,                           CASE NO. 2:12-CR-00315-JAM-5

11              Plaintiff,                               WAIVER OF PERSONAL APPEARANCE
                                                         ORDER
12        vs.

13   PETER WOODARD,

14              Defendant.

15

16          Pursuant to Federal Rules of Criminal Procedure, Rule 43(c) (3), defendant, Peter

17   Woodard hereby waives the right to be present in person in open court upon the hearing of any

18   motion or other pre-trial proceeding in this cause except that he will agree to be personally

19   present for any plea, sentencing or jury trial, and he agrees to be personally present in court when

20   ordered by the court to be present.

21          Defendant Woodard, hereby requests the court to proceed during every absence of him

22   which the court may permit pursuant to this waiver; agrees that his interests will be deemed

23   represented at all times by the presence of his attorney, the same as if defendant Woodard were

24   personally present and further agrees to be present in court ready for hearing any day and hour

25   the court may fix in his absence.
                                                 -1-
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 1          Defendant Woodard further acknowledges that he has been informed of his rights under

 2   Title 18 U.S.C. sections 3161-3174 of the Speedy Trial Act, and authorized his attorney to set

 3   times and delays under the Act without defendant Woodard being present and agrees to waive

 4   any and all time under both the Sixth Amendment to the Constitution and the Speedy Trial Act

 5   regarding his rights to a speedy public jury trial.

 6          The original signed copy of this document shall be maintained by counsel.

 7

 8   DATED: July 1, 2013

 9                                          Respectfully submitted,

10
                                            /s/ Dan Koukol
11                                          __________________________________
                                            DAN KOUKOL
12                                          Attorney for Defendant,
                                            PETER WOODARD
13

14
                                            /s/ Peter Woodard (Original retained by attorney)
15                                          __________________________________
                                            PETER WOODARD
16

17                                             ORDER

18          IT IS SO ORDERED.

19   DATED: 7/2/2013

20

21                                          /s/ John A. Mendez______
                                            Hon. John Mendez
22                                          Judge, U.S. District Court
                                            Eastern District, California
23

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